









Dismissed and Memorandum Opinion filed April 21, 2005









Dismissed and Memorandum Opinion filed April 21, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00234-CR

____________

&nbsp;

TAMARA TASHON CALEB,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
351st District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1006047

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to possession of a controlled
substance.&nbsp; In accordance with the terms
of a plea bargain agreement with the State, the trial court sentenced appellant
on February 7, 2005, to confinement for four years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed April 21, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





